                                          Case 1:15-cv-05277-RMI Document 115 Filed 11/23/20 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          EUREKA DIVISION

                                   7

                                   8     BRIAN CHAVEZ, et al.,                             Case No. 15-cv-05277-RMI
                                   9                    Plaintiffs,
                                                                                           ORDER
                                  10             v.
                                                                                           Re: Dkt. No. 114
                                  11     COUNTY OF SANTA CLARA,
                                  12                    Defendant.
Northern District of California
 United States District Court




                                  13

                                  14          Now pending is a Sua Sponte Judicial Referral for Purposes of Determining the

                                  15   Relationship of Cases 15-cv-05277-RMI and 20-cv-7208-JD, pursuant to Civil L.R. 3-12 (dkt.

                                  16   114). Having considered the referral, and no responses in support or in opposition having been

                                  17   filed, the undersigned hereby determines that the two cases are not related.

                                  18          IT IS SO ORDERED.

                                  19   Dated: November 23, 2020

                                  20

                                  21
                                                                                                    ROBERT M. ILLMAN
                                  22                                                                United States Magistrate Judge
                                  23

                                  24

                                  25

                                  26
                                  27
                                  28
